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Lucas ANDERSON

January 15, 2015

AUSA Shreve Ariail

Office of the United States Attorney
Eastern District of New York

271 Cadman Plaza Fast

Brooklyn, NY 11201

Re: United States v. Ahmed etal.
including Mohamed Yusuf
Ind. 12 Cr 661 (S1) (SLT)

Dear Mr. Ariail:

Iam the attorney for Mohamed Yusuf in the above captioned
matter. I write to respond to your assertion, made at a status
conference on January 8, 2015, that you either could not
understand my letters of December 29, 2014, or that they sought
early production of materials pursuant to 18 U.S.C. §3500.

One of the letters of December 29, 2014, sought “any
information that shows or tends to show that witnesses the
government intends to call at trial or depose pre-trial were
tortured or threatened with torture prior to making statements to
the U.S. or any other government”. This request does not, to our
knowledge, seek statements of witnesses the government intends to
call. Rather, it seeks any information from any source which
shows that one or more government witnesses were tortured. This
information may come from inmates held with the witness,
officials of the government where the witness is imprisoned,
family members of the witness, U.S. government personnel who are
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aware that the witness was tortured, or any other competent
source. Such information would be exculpatory or could lead to
exculpatory evidence because information derived from torture or
the threat of torture may be unreliable. Additionally, if the
government does intend to call witnesses who will testify that
one or more witnesses were tortured the defense should be
apprised of that prior to trial so that any appropriate motions
can be made.

The second December 29, 2014 letter seeks “disclosure of any
information that shows or tends to show that the F.B.T. or other
U.S. law enforcement agencies have policies or practices
regarding the reliability or lack of reliability of voice
identification and whether the justice department has ever
objected to or challenged the methods or methods similar to the
ones utilized by Mr. Lindh in this case.” Again, the defendant
does not seek statements of witnesses the government intends to
call at trial. We presume the government will not call witnesses
who contradict their position. Rather, the letter seeks
information regarding any U.S. law enforcement agency that has a
policy or position contrary to that espoused by the government at
trial - - specifically, that the methods utilized by Mr. Lindh in
identifying what he claims is Mr. Yusuf’s voice are flawed or
unreliable. For reasons which I think are obvious, this
information, if it exists, is exculpatory.

I am hopeful that this letter clarifies our position. If
you still do not understand our request please do not hesitate to
write regarding concerns

Sincerely,

 
